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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                     CIVIL ACTION NO. 21-11080-RGS

                MICHAEL MUEHE, ELAINE HAMILTON,
              CRYSTAL EVANS, and COLLEEN FLANAGAN,
          on behalf of themselves and all others similarly situated

                                       v.

                              CITY OF BOSTON

             MEMORANDUM AND ORDER ON PLAINTIFFS’
              MOTION FOR FEES, COSTS, AND EXPENSES

                             November 26, 2024

STEARNS, D.J.

      Before the court is plaintiffs’ revised request for attorneys’ fees and

costs incurred in monitoring the City of Boston’s compliance with the

Consent Decree described below. Plaintiffs seek reimbursement of: (1)

$84,299.77 in attorneys’ fees and $20,250 in costs incurred prior to the

Effective Date, pursuant to Section 19 of the Consent Decree; and (2)

$19,282.05 in attorneys’ fees incurred during the first year after the Effective

Date, pursuant to Section 20.1 of the Consent Decree. For the reasons that

follow, the court will allow plaintiffs’ motion for attorneys’ fees and costs,

with a reduction in the requested fees award.

                              BACKGROUND
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      The court assumes the reader’s familiarity with the factual and

procedural history of the case. Plaintiffs, a class of Boston residents and

visitors with mobility challenges, entered into a settlement agreement with

the City of Boston (City), after bringing suit against the City in June of 2021

for failing to install curb ramps in compliance with the Uniform Federal

Accessibility Standards, in violation of Title II of the Americans with

Disability Act (ADA), 42 U.S.C. §§ 12101 et seq., and § 504 of the

Rehabilitation Act, 29 U.S.C. §§ 794 et seq. The terms of the settlement are

memorialized in the Consent Decree, which this court entered on November

2, 2021. The Consent Decree requires the City to install new ADA-compliant

curb ramps, take specific measures to ensure that its existing curb ramps are

ADA-compliant, and report periodically to plaintiffs’ counsel about its

compliance progress. Dkt. # 10-2 (Consent Decree).

      The Consent Decree also requires the City to pay plaintiffs’ reasonable

attorneys’ fees, costs, and expenses. Section 19 of the Consent Decree

governs payment of “fees, costs, and expenses incurred for work performed

through the Effective Date” to the extent they are awarded by the court. Id.

¶ 19. Section 20 governs the payment of reasonable attorneys’ fees, costs,

and expenses incurred between the Effective Date and the expiration of the




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Term of the Consent Decree for performing all work reasonably necessary to

monitor, implement, and administer the Decree. Id. ¶ 20.

                               DISCUSSION

I. Attorneys’ fees and costs incurred prior to the Effective Date

      The City contends that plaintiffs cannot recoup any monitoring fees

and costs under Section 19 of the Consent Decree for work conducted prior

to the Effective Date as an award would be contrary to the plain language of

Section 19. Dkt. # 129 at 5. The court’s interpretation of the Consent Decree

is guided by familiar canons of contract interpretation. See Smart v. Gillette

Co. Long-Term Disability Plan, 70 F.3d 173, 178 (1st Cir. 1995). Thus, where

the terms of the Consent Decree are unambiguous, they are given their

“plain, ordinary, and natural meaning.” Filiatrault v. Comverse Tech., Inc.,

275 F.3d 131, 135 (1st Cir. 2001).   The court has previously held that

Section 19 of the Consent Decree unambiguously requires the City to pay

“reasonable attorneys’ fees, costs, and expenses awarded by the District

Court in connection with this matter incurred up to the Effective Date.”

Consent Decree ¶ 19; Dkt. # 122 at 5. The court sees no reason to revisit this

holding other than to note that the plain language of Section 19 does not limit




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plaintiffs or the court to one fee award.1 See Dkt. # 122 at 5. Given that this

court previously determined that the Effective Date of the Consent Decree is

February 21, 20232 — the date at which any “appeal is finally adjudicated or

resolved in favor of affirming the approval of the Consent Decree” —

plaintiffs may recover reasonable attorneys’ fees, costs, and expenses from

this court for work conducted prior to that date. Dkt. # 122 at 5; Consent

Decree ¶ 1.10.

      Although plaintiffs have reduced their request to $84,299.77 in

monitoring fees and $20,250 in costs in response to the City’s prior round of

objections, the City renews its contentions that plaintiffs’ counsel: (a) billed

for duplicative work; (b) billed for “unreasonable” work that is not


      1 Although the City contends that class counsel did not seek in their

motion an award of reasonable attorneys’ fees, costs, and expenses incurred
for work performed as prevailing parties through the Effective Date and
instead seek fees for monitoring the Consent Decree prior to the Effective
Date between November 3, 2021 and February 21, 2023, Dkt. # 129 at 4,
nothing in Section 19 prohibits the court from awarding fees for monitoring-
related work, as opposed to litigation work, prior to the Effective Date.

      2 As plaintiffs’ counsel notes, the court awarded post-judgment interest

beginning on November 21, 2022 for plaintiffs’ counsel’s fees for litigating
the appeal. However, that does not imply the Effective Date was November
21, 2022 – 28 U.S.C. § 1961(a) provides that post-judgment interest “shall be
calculated from the date of the entry of the judgment.” This district has
adopted the majority rule that post judgment interest begins to accrue when
the plaintiffs are entitled to the award, not necessarily when the award is
quantified. Edge v. Norfolk Fin. Corp., 2005 WL 2323193, at *9 (D. Mass.
Aug. 29, 2005).
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compensable under the terms of the Consent Decree; (c) billed core rates for

non-core work; and (d) unreasonably expended expert costs. Dkt. # 138 at

2.

      a. Duplicative work

      The City argues that plaintiffs’ counsel repeatedly billed for the same

work performed by different attorneys. Dkt. # 129 at 14. Courts may exclude

hours spent on tasks that are “duplicative, unproductive, excessive, or

otherwise unnecessary.” Grendel’s Den, Inc. v. Larkin, 749 F.2d 945, 950

(1st Cir. 1984); see also Gay Officers Action League v. P.R., 247 F.3d 288,

295-296 (1st Cir. 2001) (“[I]t is the court’s prerogative (indeed, its duty) to

winnow out excessive hours, time spent tilting at windmills, and the like.”).

Hours expended on research or drafts of the same content by two or more

lawyers, or attendance of two or more lawyers at a court hearing or

conference when one attorney would have sufficed, may be deducted from

the hours claimed. See Hart v. Bourque, 798 F.2d 519, 523 (1st Cir. 1986).

The burden of proving that the hours claimed were reasonably expended lies

with the fee petitioner. Torres-Rivera v. O’Neill-Cancel, 524 F.3d 331, 340

(1st Cir. 2008).

      Many of Attorney Murphy’s entries related to phone calls and meetings

with the City or with plaintiffs’ expert, Eric McSwain, are duplicative of


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Attorney Fox’s entries. For example, entry 50 of Attorney Murphy’s, “mtg

with City (Law Dep’t, DPW) to discuss our questions about Year 1 annual

report” (1.0), mirrors that of entry 49 of Attorney Fox’s, “[p]repare for call

with City to discuss annual report and 2022 curb ramp list (3.1); participate

in that call (1)”. Dkt. # 134 at 8; see e.g., Dkt. # 134 at 16, Entry 59, 146-147,

Entry 158-159, Entry 184-185, Entry 191-192. The court will consequently

reduce Attorney Murphy’s billing by 6.2 hours and deduct $2,539 from the

fee request.3 See Hart, 798 F.2d at 522-523 (1st Cir. 1986); McMillan, 140

F.3d 288, 311 n.18 (affirming district court’s total elimination of hours spent

by one attorney “consulting with” the trial attorney about the case).

      b. Non-compensable work

      The City contends that plaintiffs’ counsel’s work on client

communications and fee requests are not compensable under the terms of

the Consent Decree. Section 19 provides that such fees must be “reasonable.”

Consent Decree ¶ 19. While plaintiffs’ counsel has a client duty to keep the

class representatives informed, it is not the City’s obligation under the

Consent Decree to pay for such communications. Nor is it reasonable for the

City to pay for plaintiffs’ counsel’s time spent producing fee requests for the


      3 To the extent that the City challenges other billed time as duplicative,

the City has not adequately identified these instances or explained why such
time should be discounted.
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City. The court will disallow entries 29-36, 41, 91, 97, 164, 166-167, 173, 176,

and 178, thus deducting $2,579.23 from the requested fee.

      c. Non-core work

      Although plaintiffs corrected many of their prior entries, the City has

flagged various entries that still include non-core work. Plaintiffs’ counsel

seek reimbursement for fees at an hourly rate of $725 for Attorney Fox, $500

for Attorney Murphy, and $221 for their paralegal – the same billable rates

that this court awarded them in 2021 for negotiating the settlement.4 Dkt. #

125 at 5. However, “clerical or secretarial tasks ought not to be billed at

lawyers’ rates, even if a lawyer performs them.” Lipsett v. Blanco, 975 F.2d

934, 940 (1st Cir. 1992) (finding that hours involved in merely translating

documents and court filings should be compensated at a rate “less

extravagant” than the attorney’s regular rate).        Courts have generally

regarded the following activities as administrative or clerical functions for

which proportionate fee deductions ought to be imposed: document

preparation, organization, distribution, and copying; drafting emails and

other correspondence; data collection; legal cite-checking; scheduling and




      4 Plaintiffs do not seek CPI adjustments to their attorneys’ hourly rates

for work performed prior to the Effective Date because Section 19 of the
Consent Decree, unlike Section 20, does not include a CPI-enhancement.
Dkt. # 124 at 8.
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logistical planning; filing court documents; factual research; and docket

review and management.        See, e.g., Conservation Law Found. Inc. v.

Patrick, 767 F. Supp. 2d 244, 254-255 (D. Mass. 2011).

      Upon careful review of the entries flagged by the City, the court agrees

that such work should not be billed at a core rate. Entries such as “[d]raft

memo summarizing call with Boston,” “[b]egin reviewing survey results,”

and “[d]raft memo to team summarizing my review of the annual report”

predominantly involve drafting emails and preparing documents. Dkt. #

134-1 at 4, Entry 1, Entry 7, Entry 52; see Bogan v. City of Bos., 432 F. Supp.

2d 222, 231 (D. Mass. 2006), aff’d, 489 F.3d 417 (1st Cir. 2007). Applying

the two-thirds non-core rate requested by the City to the flagged entries, the

court will deduct $9,402.50 from plaintiffs’ fee request.5 See Sys. Mgmt.,

Inc. v. Loiselle, 154 F. Supp. 2d 195, 201 (D. Mass. 2001) (compensating the

“‘non-core’ (i.e., less lawyerly) work” at two-thirds the reasonable hourly rate

for core work), citing Brewster v. Dukakis, 3 F.3d 488, 492 n.4 (1st Cir.

1993).

      A fee amount also may be reduced in cases where the dispute or task is

noncomplex. See Foley v. City of Lowell, 948 F.2d 10, 19 (1st Cir. 1991).


      5 These include entries 1-3, 5-9, 17, 18, 52-54, 60-62, 65, 68, 69, 87,

109, 124, 128, 129, 132, 135, 136, 139, 144, 174, 175, 179, 181, 184, 189, 192,
195, 198, 199, and 201. See Dkt. # 134-1 at 4-22.
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Unlike litigation of the appeal, which took plaintiffs’ counsel 626.6 hours, or

the protracted negotiation of the settlement agreement, which took 1,401

hours, here, all of the 177.6 hours that plaintiffs initially submitted occurred

out of court and mostly involved review of factual information. Much of the

work included communication with the City regarding noncompliant curb

ramps and review of photos and data of remediated ramps. Dkt. # 124 at 5-

6. Given the less-complex nature of this task (particularly for attorneys

historically versed in the ins and outs of the litigation), as compared to the

initial litigating of an appeal or the negotiation of a settlement, the court will

impose a 40 percent across-the-board deduction to plaintiffs’ requested fees,

resulting in an award of $41,867.42. See Miles v. Sampson, 675 F.2d 5, 9 (1st

Cir. 1982) (holding if the issue involves far less difficulty and complexity than

would justify the hours spent, the claimed compensation should be

discounted); United States v. Metro. Dist. Comm’n, 847 F.2d 12, 16 (1st Cir.

1988) (noting that across-the-board reduction of fees, when sufficiently

explicit, is permissible); Heath v. Silvia & Silvia Assocs., Inc., 2007 WL

3259150, at *3 (Mass. Super. Oct. 5, 2007) (a task’s lack of complexity

constitutes an acceptable reason to reduce the award by an-across-the-board

amount).

      d. Expert costs


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      The City challenges the reasonableness of the $19,530 in costs

attributable to expert Eric McSwain, who assisted plaintiffs’ counsel in

monitoring the City’s compliance efforts.       Dkt. # 138 at 5.     Given the

extensive experience gained by McSwain through his employment at Access

Compliance Consultants, Inc., in the interpretation and application of ADA

accessibility requirements and his detailed invoices, which include specific

entries identifying his work, such as reviewing the City’s photos of

remediated curbs, analyzing curb ramp examples, editing draft letters, and

reconciling the City’s Excel reports, the court finds McSwain’s billing of 93

hours of work at an hourly rate of $210 reasonable.6

II. Attorneys’ fees incurred for the first year of monitoring after the
Effective Date
      Plaintiffs seek recovery of $19,282.05 in monitoring fees under Section

20.1 of the Consent Decree for work performed from February 22, 2023,

through February 21, 2024. Dkt. # 133 at 3. The City renews its objections

that plaintiffs’ counsel: (a) billed for duplicative work; (b) billed core rates

for non-core work; (c) billed for an ongoing dispute; (d) billed excessively for

preparation of the Joint Status Report; (e) billed for “unreasonable” work




      6 After plaintiffs’ counsel shared GIS consultant Meghan Bogaerts’
qualifications with the court and the City, the City withdrew its objection to
the $720 in costs attributable to her. Dkt. # 138 at 4.
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that is not compensable; and (f) erroneously billed Consumer Price Index

(CPI) adjustments. Dkt. # 138 at 6.

      a. Duplicative work

      Based on the same reasons set forth in the corresponding section, the

court finds that both Attorneys Fox and Murphy billed their time discussing

with each other Boston’s draft consent implementation plan. See Dkt. # 134-

2 at 28, Entry 51-52. $147.96 will be deducted from the requested fee award.

      b. Non-core work

      For the same reasons explained in the above section, plaintiffs’ counsel

has inaccurately billed many entries, such as reviewing drafts, preparing

emails, and inserting edits into a letter, as core work. The court will apply

the non-core two-thirds rate to entries 2-5, 7-9, 46, 53, 54, 62, and 67,

deducting $2,228.74 from the fee request. Dkt. # 134-2 at 23, 28-29.

      c. Ongoing disputes

      Plaintiffs’ counsel has withdrawn over $26,000 in requested fees

because those entries involve ongoing discussions about the City’s

compliance with the Consent Decree. While plaintiffs’ counsel intends to

include those entries in their renewed motion to enforce the Consent Decree,

Dkt. # 133 at 1, they still seek fees for “[t]he GIS and photo/data dispute . . .

[that] has been resolved,” Dkt. # 134-2 at 26, Entries 28-30. Because


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plaintiffs have not adequately documented these fees under Section 20.3,

which governs the recoverability of dispute resolution fees, nor conveyed to

the City that the dispute is resolved,7 the court will omit entries 28-30 and

$731.39 from the requested award. See Consent Decree ¶ 20.3.

      d. Excessive fees

      The City next contends that plaintiffs’ attorneys excessively spent time,

7.2 hours across three attorneys and one paralegal for a total fee of

$5,596.82, preparing their three-page portion of the Parties’ Joint Status

Report. Dkt. # 95; Dkt. # 129 at 19; Dkt. # 138 at 7. After carefully reviewing

the revised time entries and plaintiffs’ attorneys’ emails, the court finds that

counsel’s effort and time was reasonable – although the City drafted the first

version of the status report, the parties debated whether to include a section

about the GIS mapping request, went through at least four separate drafts of

the report, and exchanged a myriad of communications. Dkt. # 133 at 9.

      e. Non-compensable work




      7 It is unclear to the City whether the dispute is resolved.    Plaintiffs
advanced those disputes for review in their July of 2024 contempt filing, see
Dkt. # 111 at 2, and may intend to rely on allegations about the City failing to
provide GIS photos or other data in a future contempt filing, see Dkt. # 129
at 17; Dkt. # 138 at 7.
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     For the same reasons stated above, the court will disallow the $1,179.99

in requested fees for work calculating the CPI to update timekeeper rates.8

     e. Consumer Price Index rate calculation

     Lastly, the City contends that the CPI adjustment to plaintiffs’

timekeepers’ hourly rates should be based on the date that the monitoring

work was completed. Dkt. # 133 at 9. The Consent Decree provides that class

counsel will submit to the City their statement of attorney fees using the

hourly rates that the court approved as reasonable, “adjusted annually based

on the Consumer Price Index for the Boston Area as calculated by the United

States Bureau of Labor Statistics.” Consent Decree ¶ 20.1. There is no

mention that plaintiffs’ counsel should adjust their rates to the current CPI

at the date of payment. Plaintiffs’ counsel had increased their rates by

12.09%, based on the CPI between November of 2021 and August of 2024,

when, in fact, they completed the monitoring work nearly six months prior

to August of 2024. Thus, the court will apply the 10.35% CPI adjustment that




     8 The fee-related requests under entry 1, “[a]t Boston’s request, review

CPI increase for purposes of monitoring, and draft email concerning the
same,” entry 95, “[r]esearch and find CPI data for Boston, and use that data
to calculate revised hourly rate November 1, 2022 through February 21,
2023,” and entry 96, “[r]esearch most recent CPI figures for Boston, and put
together revised fee rates for monitoring from February 2023 through
February 2024” are not “reasonably necessary to monitor” the Consent
Decree. Dkt. # 134-2 at 24, 32-33.
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plaintiffs’ counsel included for the City in their March 4, 2024 monitoring

fees request. Dkt. # 129 at 19; Dkt. # 125-1 at 210. After including the above

revisions, the court will reduce the second fees award by 1.74% to $14,733.52.

                                  ORDER

     For the foregoing reasons, plaintiffs’ motion for attorneys’ fees and

costs is GRANTED in part, but the court reduces the award to $56,600.94 in

attorneys’ fees and $20,250 in costs.

                                   SO ORDERED.
                                   /s/ Richard G. Stearns
                                   UNITED STATES DISTRICT JUDGE




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